                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               :
 SIMA KESLER,                                  :
                                               :
                 Plaintiff,                    :              CIVIL ACTION
                                               :
           v.                                  :              NO. 21-2516
                                               :
T-MOBILE USA, INC., et al.                     :
                                               :
                 Defendant(s).                 :
                                               :


                                            ORDER


      AND NOW, this 24th day of August, 2021, upon consideration of the Parties’ joint letter

stipulation by the Court on August 19, 2021, IT IS HEREBY ORDERED AND DECREED:

      1. Plaintiff shall submit all of her claims against Defendant, as asserted in this lawsuit,

         to binding arbitration in according with the Terms and Conditions in Exhibit A;

      2. This action is stayed pending the outcome of the arbitration;

      3. Counsel for the Parties shall attend status conferences, as may be set by this Court, to

         notify the Court of the status of arbitration; and

      4. The Court hereby retains jurisdiction to confirm the arbitration award and enter

         judgment for the purpose of enforcement.



                                                              BY THE COURT:

                                                              /s/ Petrese B. Tucker

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                                                              Hon. Petrese B. Tucker, U.S.D.J.
